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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

WILLIAM BOOKMYER, et al.,

               Plaintiffs,
                                                Case No. 2:20-cv-02284
       v.                                       JUDGE EDMUND A. SARGUS, JR.
                                                Magistrate Judge Kimberly A. Jolson
PNC BANK, N.A., et al.,

               Defendants.

                                            ORDER

       Plaintiffs William Bookmyer, Bookmyer & Associates CPA, Inc., Alex Boyton, and

Boytan & Associates, LLP (Plaintiffs), move to dismiss without prejudice Defendant Bluevine

Capital Inc., pursuant to Rule 21 of the Federal Rules of Civil Procedure (ECF No. 32). Plaintiffs’

Motion to Dismiss Defendant Bluevine Capital Inc. without prejudice is GRANTED.

   IT IS SO ORDERED.



10/16/2020                                           s/Edmund A. Sargus, Jr.
DATE                                                 EDMUND A. SARGUS, JR.
                                                     UNITED STATES DISTRICT JUDGE
